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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                                             :
       v.                                    :       Case No. 22-cr-144-GMH
                                             :
RICHARD GUSTAVE OLSON, JR.                   :
                                             :       Judge G. Michael Harvey
                                             :
                      Defendant.             :

                          RICHARD G. OLSON JR.’s MOTION
                     TO BIFURCATE SENTENCING PROCEEDINGS

       Comes now Amb. Richard Gustave Olson Jr. (Ret.), through counsel HANNON LAW

GROUP, LLP, and CLARK HILL, PLC, and respectfully requests the Court to bifurcate the

sentencing proceedings into two parts: an evidentiary hearing related to disputed elements of the

PreSentence Investigation Report; and, the actual sentencing of Amb. Olson. In support of this

request, counsel present the following:

       1. On January 9, 2023, the Court extended the time for the Parties to file their

Sentencing Memoranda to January 13, 2023. In the same Minute Order, the Court indicated it

would schedule a new sentencing date after receipt of the Parties’ Sentencing Memoranda. The

Sentencing Memoranda were filed on January 13, 2023.

       2. The Plea Agreement between the government and Amb. Olson contains a provision

in which the Parties agree that the applicable sentencing guideline factors produce a guideline

number of 8, before application of a -2 deduction for acceptance of responsibility. The

PreSentence Investigation Report Writer, however, calculated a guideline score of 28.

       3. In his Sentencing Memorandum, Amb. Olson argues, in part, that the PSR Report
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Writer was improperly influenced by information provided to her by AUSA Daniel J. O’Brien

from the U.S. Attorney’s Office for the Central District of California. ECF No. 38; see also,

“Ambassador Olson’s Response to the Government’s Motion to Continue Sentencing

Memoranda Deadline,” ECF No. 37.

       4. Amb. Olson intends to present 3-5 witnesses to provide information to the Court in

connection with the disputed elements of the PreSentence Investigation Report.

       5. Counsel for the government have indicated they do not intend to call any

witnesses.

       6. The government’s Sentencing Memorandum appears to support elements of the PSR

Writer’s conclusions, including hundreds of pages of email and other documents.

       7. Amb. Olson requests the opportunity to file a reply to the government’s Sentencing

Memorandum. In addition, Amb. Olson intends to present argument, based on a recent decision

from the Court of Appeals for the Ninth Circuit, that the government’s presentation of disputed

information to the PreSentence Report Writer and elements of the government’s Sentencing

Memorandum violate the Plea Agreement. United States v. Farias-Contreras, No. 21-30055 (9th

Cir., Feb. 16, 2023).

       8. Amb. Olson suggests that separating the hearing from the actual sentencing will

afford the Parties and the Court the necessary time to resolve disputed elements related to sen-

tencing and to determine the appropriate sentencing guideline score in this case.




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       WHEREFORE, Amb. Olson requests that the Court set dates for the following: a reply

from Amb. Olson to the government’s Sentencing Memorandum; a hearing date for evidence and

argument regarding disputed elements in the PreSentence Investigation Report; and, a final date

for sentencing.

Dated: February 19, 2023                    Respectfully submitted,

                                            HANNON LAW GROUP, LLP

                                            ___s/J. Michael Hannon___________
                                            J. Michael Hannon, #352526
                                            1800 M Street, N.W., Suite 850 S
                                            Washington, DC 20036
                                            Tel: (202) 232-1907
                                            Fax: (202) 232-3704
                                            jhannon@hannonlawgroup.com

                                            CLARK HILL, PLC

                                                   s/Russell D. Duncan
                                            Russell D. Duncan
                                            1001 Pennsylvania Ave. Suite 1300 South
                                            Washington, DC 20004
                                            (202) 640-6637
                                            rduncan@clarkhill.com

                                            Attorneys for Defendant Richard Gustave Olson, Jr.




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